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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


VINTAGE ASSETS INC.                                  CIVIL ACTION


VERSUS                                               NO: 16-713


TENNESSEE GAS PIPELINE CO. ET AL.                    SECTION: “H”



                               JUDGMENT
     For the reasons issued on August 22, 2017 (Doc. 218), Plaintiffs’
negligence and tort claims are DISMISSED WITH PREJUDICE, and
Plaintiffs’ claims for breach of the August 1957 and July 1958 contracts are
DISMISSED WITH PREJUDICE.
     For the reasons issued on May 4, 2018;
     IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
Judgment be entered in favor of Plaintiffs Vintage Assets, Inc., the Mercedes
Perez Mack Exempt Trust, Anne Perez Inabnett, Renee Perez Sachs, Arthur S
Huey IV, Susan Perez Magee, Jacque Perez de La Vergne, John R. Perez III,
Suzanne de La Vergne McIntosh, and Joan Elizabeth Heather Huey and
against Defendants Tennessee Gas Pipeline Company, L.L.C., Southern
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Natural Gas Company, L.L.C., High Point Gas Transmission, L.L.C., and High
Point Gas Gathering, L.L.C., on all remaining claims.
     IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
Judgment be entered in favor of Plaintiffs Vintage Assets, Inc., the Mercedes
Perez Mack Exempt Trust, Anne Perez Inabnett, Renee Perez Sachs, Arthur S
Huey IV, Susan Perez Magee, Jacque Perez de La Vergne, John R. Perez III,
Suzanne de La Vergne McIntosh, and Joan Elizabeth Heather Huey, in shares
equal to their ownership of the Subject Property, and against Defendants
Tennessee Gas Pipeline Company, L.L.C., Southern Natural Gas Company,
L.L.C., High Point Gas Transmission, L.L.C. in the amount of $262.00.
     IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
Judgment be entered in favor of Plaintiffs Vintage Assets, Inc., the Mercedes
Perez Mack Exempt Trust, Anne Perez Inabnett, Renee Perez Sachs, Arthur S
Huey IV, Susan Perez Magee, Jacque Perez de La Vergne, John R. Perez III,
Suzanne de La Vergne McIntosh, and Joan Elizabeth Heather Huey, in shares
equal to their ownership of the Subject Property, and against Defendants
Southern Natural Gas Company, L.L.C., and High Point Gas Gathering, L.L.C.
in the amount of $720.00.
     IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
Judgment be entered in favor of Plaintiffs Vintage Assets, Inc., the Mercedes
Perez Mack Exempt Trust, Anne Perez Inabnett, Renee Perez Sachs, Arthur S
Huey IV, Susan Perez Magee, Jacque Perez de La Vergne, John R. Perez III,
Suzanne de La Vergne McIntosh, and Joan Elizabeth Heather Huey, in shares
equal to their ownership of the Subject Property, and against Defendants
Southern Natural Gas Company, L.L.C. and High Point Gas Transmission,
L.L.C. in the amount of $122.00.
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               New Orleans, Louisiana this 4th day of May, 2018.


                              ____________________________________
                              JANE TRICHE MILAZZO
                              UNITED STATES DISTRICT JUDGE
